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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF IOWA

 UNITED STATES OF AMERICA,                  )
                                            ) Criminal No. 3:20-cr-00104
                v.                          )
                                            ) MOTION FOR FINAL
 ANTONIO LASHAWN WARFIELD,                  ) ORDER OF FORFEITURE
                                            )
               Defendant.                   )

      COMES NOW the United States of America, through Assistant U.S. Attorney

Craig Peyton Gaumer, and files its Motion for Final Order of Forfeiture.

      1.     Statutory Authority. The Court’s authority in this matter is founded

upon 18 U.S.C. § 924(d), 28 U.S.C. § 2461(c), and Fed. R. Crim. P. 32.2.

      2.     Preliminary Order of Forfeiture. The Court entered a Preliminary

Order of Forfeiture on May 13, 2022 (DCD 65), ordering the forfeiture of the

Defendant’s interest in the following property:

      A loaded Taurus, nine-millimeter caliber, semi-automatic pistol (SN:
      TLT00754).

The forfeiture was contained in the Judgment of Conviction. (DCD 75.)

      3.     Notice to Third Parties. In accordance with federal law, the notice of

the forfeiture of the above-described property and the requirements for filing a claim

for the property was published for thirty consecutive days on an official government

internet site (www.forfeiture.gov). This notice advised any third-parties that any

person asserting a legal interest in the property subject to forfeiture had sixty (60)

days from the first date of publication of notice to petition the Court to adjudicate the
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validity of his/her alleged interest in the property. A Declaration of Publication was

filed herein specifying the details of this publication. (DCD 84.)

        4.       Third-Party Claims. No third party has filed a petition contesting the

forfeiture. Therefore, any third-party interests are barred by failure of those parties

to file a timely petition.

        Accordingly, the United States respectfully requests that this Court enter a

final order of forfeiture, as set forth in the attached order.

                                                             Respectfully Submitted,

                                                             Richard D. Westphal
                                                             United States Attorney

                                                        By: /s/ Craig Peyton Gaumer
                                                           Craig Peyton Gaumer
                                                           Assistant United States Attorney
                                                           U. S. Courthouse Annex, Suite 286
                                                           110 East Court Avenue
                                                           Des Moines, Iowa 50309
                                                           Tel: (515) 473-9300
                                                           Fax: (515) 473-9292
                                                           Email: craig.gaumer@usdoj.gov


                                         CERTIFICATE OF SERVICE

         I hereby certify that on October 31, 2022, I electronically filed the foregoing with the Clerk of Court
using the CM/ECF system. I hereby certify that a copy of this document was served on the parties or attorneys
of record by:

                U.S. Mail       Fax       Hand Delivery    X ECF/Electronic filing      Other means

                                                                     UNITED STATES ATTORNEY
                                                              By:    /s/ K. Saltos
                                                                     Paralegal Contractor




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